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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 PAUL J. MANAFORT, JR.,

                                      Plaintiff,

                            v.
                                                                 No. 1:18-cv-00011-KBJ
 U.S. DEPARTMENT OF JUSTICE, ROD J.
 ROSENSTEIN, and ROBERT S. MUELLER III,

                                     Defendants.



                     NOTICE OF DEVELOPMENT IN PENDING CASE

       Defendants the U.S. Department of Justice, Rod J. Rosenstein, and Robert S. Mueller III

(“Defendants”), hereby file this Notice to inform the Court of a recent development in a case also

pending in this District.

       Plaintiff Paul J. Manafort, Jr. is a defendant in a criminal matter currently pending before

another Court in this District. See United States v. Paul J. Manafort, Jr., No. 1:17-cr-00201-ABJ

(D.D.C.). Following a status conference on January 16, 2018, the Court in that case ordered the

parties in the criminal matter to “file a Notice with the Court by 1/19/2018 informing the Court of

their position(s) as to whether Defendant MANAFORT’S (1) civil complaint should be transferred

to this Court.” See id., Minute Order of Jan. 16, 2018.

       In compliance with that Order, earlier today the parties jointly filed a joint notice stating:

“In response to the Court’s Order of January 16, 2018, regarding whether the civil case Manafort

v. Dep’t of Justice, No. 18-cv-11-KBJ (D.D.C.), should be transferred to this Court, the parties

believe that transfer would be permissible pursuant to Local Civil Rule 40.6(a), provided that both




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judges consent. Neither party would have any objection to such transfer.” See id., ECF No. 156

(Joint Notice on Transfer of Civil Complaint).

       Undersigned counsel respectfully submit this Notice to ensure that this Court is likewise

aware of the parties’ positions as stated in the criminal case.



                                       Respectfully submitted this 19th day of January, 2018,

                                                       JOHN R. TYLER
                                                       Assistant Director

                                                       /s/ Daniel Schwei
                                                       DANIEL SCHWEI (N.Y. Bar)
                                                       Senior Trial Counsel
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